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(813) 258-5911 (Facsimile)

Attorneys for Debtor(s)
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B6 Summary (Official Form 6 - Suaumary} (12417)

United States Bankruptcy Court
Middle District of Florida

In re Christian E. Sanon, Case No,__8:13-bk-06282
Louise Marie Sanon

 

Debtors Chapter. 7

 

SUMMARY OF SCHEDULES - AMENDED

Indicate as to each schedule whether that schedule is attached and state the number of pages in each, Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amouat of the debtor's assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

 

  

 

 
  

 

 

 

  

 

 
 

 

 

 

  
 

 

 

 

 

  

 

 

 

 

 

 

  

 

 

 

 

 

  

 

 

 
 

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES OTHER
(YES/NO} SHEETS
A - Real Property Yes 41 143,610.00
B - Personal Property Yes 4 41,997.92
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Ciaims Yes 1 409,885.00
E - Creditors Holding Unsecured Yes 4 0.00
Priority Cla ims (CFotal of Cisiims on Schedule £}
F - Creditors Holding Unsecured Yes 6 29,138.00
Nonpriority Claims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
| - Current Income of Individual Yes 1 §,000.00
Debtor(s}
J- Current Expenditures of Individual Yes 2 5,999.51
Debtor(s)
Total Number of Sheets of ALL Schedules 19
Total Assets 185,607.92

 

 

  

 

Total Liabilities 439,023.00

 

 

 

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Form 6 ~ Statistical Summary (12/07)

United States Bankruptcy Court
Middle Distriet of Florida

In re Christian E. Sanon, Case No. 8:13-bk-06282
Louise Marie Sanon

 

Debtors Chapter, 7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
a case under chapter 7, 11 or 13, you must report all information requested below.

f] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C, § 159.
Summarize the following types of Habilities, as reported in the Schedules, and total them,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
  
   

 

 

 

Type of Linbility Amount

Domestic Support Obligations (trom Schedule E) 0.06

Taxes and Certain Other Debts Owed to Governmental Units 0.00

(rom Schedule E)} .

Claims for Death or Personal Injury While Debtor Was Intoxicated 0.00

{from Schedule E} Gvhether disputed or undisputed) .

Student Loan Obligations (from Schedule F) 0.00

Domestic Support, Separation Agreement, and Divorce Decree 0.00

Obligations Not Reported an Schedule E ,

Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00

(from Schedule F} .
TOTAL 0.06

State the following:

Average income (from Schedule [, Line 16} §,600.00

Average Expenses (from Schedule J, Line 18) 5,999.51

Current Monthly income {from Form 22A Line 12; OR, 00

Form 228 Line 11; OR, Form 22C Line 20) 5,000.

State the following:

1, Total from Schedule D, "UNSECURED PORTION, IF ANY"

column 229,775.00
2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY"
column

 

 

3. Total from Schedule £, "AMOUNT NOT ENTITLED TO

PRIORITY, 1F ANY” column 0.00

 

 
 

 

4, Total fram Schedule F 29,438.00

 

§. Total of non-priority unsecured debt (sum of 1,3, and 43

258,913.00

 

 

 

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868 (Official Form 6B} (12/07)

In re Christian E. Sanon, Case No. ___ 8:13-bk-06282
Louise Marie Sanon

Debtors
SCHEDULE B - PERSONAL PROPERTY - AMENDED

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an ’x" in the appropriate position in the column labeled "None.” If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H,” "W." "5," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
Ifthe property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"4.B,, a minor child, by John Doe, guardian." Do not disclose the child’s name. See, EL U.S.C, $112 and Fed. R, Bankr, P. 1007(m),

 

 

N Hasband, b Curent Value ca
. as . if D terest i +
Type of Property G Description and Location of Property Joint or oor hout Beducting any
E Community Secured Claim or Exemption
I. Cash on hand x
2. Checking, savings or other financial Chase Bank - Checking Acct# 6808 J 2,997.92
accounts, certificates of deposit, or
shares in banks, savings and joan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.
3. Security deposits with public xX
utilities, telephone companies,
landlords, and others.
4, Household goods and furnishings, 2 Sofas, coffee table, 2 end tables, 2 oce. chairs, J 1,500.00
including audio, video, and various lamps, tv/ver, stereo, refrigerator,
computer equipment. microwave, itchen table w/4 chairs, assorted
dishes, pots and kitchenware, dining table wi7
chairs, 5 beds, 5 dressers, 2 nightstands, 3 desks
wichairs, 2 computers, printer, washer/dryer, misc.
hand & power tools.
These items located at Tampa PODS facility
currently.
5. Books, pictures and other art Various books, music, movies and prints. J 200.00
objects, antiques, stamp, coin,
record, fape, compact disc, and
other collections or collectibles.
6. Wearing apparel. Miscellaneous clothing and personal items. J 200.66
7. Fars and jewelry. Wedding Band set, watch, & Costume jewelry. J 500.00
&, Firearms and sports, photographic, Microphone & Stand J 100.00
and other hobby equipment.
9, Interests in insurance policies. X

Name insurance company of each
policy and itemize surrender or
refund value ofeach.

 

Sub-Total > §,497.92
(Total of this page)

3 __ continuation sheets aftached to die Schedule of Personal Property

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In re Christian FE. Sanon,

Louise Marie Sanon

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Case No. ___8:13-bk-06282

 

Debtors

SCHEDULE B - PERSONAL PROPERTY - AMENDED

(Continuation Sheet)

 

 

 

N Husband, Deb Curent Value gf
— . ife, sbtor's Interest i rty,
Type of Property o Description and Location of Property j oink, or oevithout Deducting any ¥
E Community Secured Claim or Exemption
10, Annuities. ltemize and name each x
issuer,
il. Interests in an education IRA as x
defined in 26 U.S.C. § 330(b)(E) or
under a qualified State inition plan
as defined in 26 U.S.C, § §29(b}{1).
Give particulars, (Pile separately the
record(s) of any such interest(s).
HE ULS.C. § 52 1He})
12. Interests in IRA, ERISA, Keogh, or X
other pension or profit sharing
plans. Give particulars.
13, Stock and interests in incorporated Debtor is Owner & Stockholder of Organisation J Unknown
and unincorporated businesses. Rome Haiti.
Hemize. Debtor believes corporate debt meets or exceeds
value of assets, therefore the value of the
corporation in liquidation is $0.00 -
Balance Sheet to be Provided - % of Ownership
unknown
Debtor is 50% Owner & Stockholder of Radio-Tele J Unknown
Vasco, SA.
Debtor believes corporate debt meets or exceeds
value of assets, therefore the value. of the
corporation in liquidation is $0.00
Debtor is Owner & Stockholder of Tabarre d Unknown
Evangelical Tabernacte.
Debtor believes corporate debt meets or exceeds
value of assets, therefore the value of the
corporation in liquidation is $0.00 -
Balance Sheet to be Provided - % of Ownership
unknown
Debtor is Owner & Stockholder of New Hope Health J Unknown
Center.
Debtor believes corporate debt meets or exceeds
value of assets, therefore the value of the
corporation in liquidation is $0.00 -
Balance Sheet to be Provided -% of Ownership
unknown
Sub-Total > 0.00
{Total of this page)
Sheet 1 of 3 _ continuation sheets attached

to the Schedule of Personal Property

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Gast Case Bankruptcy
Case 8:13-bk-06282-MGW Doc53 Filed 04/01/14 Page /7of8

BSB {Official Form 6B) (12/973 - Cont.

Christian E. Sanon,
Louise Marie Sanen

In re

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Case No. 8:13-bk-06282

 

Debtors

SCHEDULE B - PERSONAL PROPERTY - AMENDED

{Continuation Sheet}

 

 

 

s Husband, Deb Current Value of
. / we . . ife, ebtor’s Interest in Property,
Type of Property N Description and Location of Property Joint, or without Deducting any.
E Community Secured Claim or Exemption
Debtor is 56% Owner & Stockholder of Sheenia a Unknown
Enterprises.
Debtor believes corporate debt meets or exceeds
value of assets, therefore the value of the
corporation in liquidation is $0.00 -
Balance Sheet to be Provided
Debtor is 43% Owner & Stockholder of New Hope J Unknown
Cancer Centers SRL.
Debtor believes corporate debt meets or exceeds
value of assets, therefore the value of the
corporation in liquidation is $0.00 -
Balance Sheet to be Provided
14. Interesis in partnerships or joint x
ventures. Hemize.
15, Government and corporate bonds x
and other negotiable and
nonnegotiable instruments.
16. Accounts receivable. Xx
17. Alimony, maintenance, support, and X
property setilements to which the
debtor is or may be entitled. Give
particulars.
18. Other liquidated debts owed to debtor
including tax refunds, Give particulars.
19, Equitable or fiture interests, life x
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.
20. Contingent and noncontingent x
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.
21. Other contingent and unliquidated x
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims,
Give estimated value of each.
Sub-Total > 0.00

Sheet 2. of 3

to the Schedule of Personal Property

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(Total of this page)

continuation sheets attached

Best Case Bankruptcy
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86B (Official Form 6B} (12/07) - Cont.

Inre Christian E. Sanon,

Louise Marie Sanon

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Case No, 8:13-bk-06282

 

Debtors

SCHEDULE B - PERSONAL PROPERTY - AMENDED

(Continuation Sheet)

 

 

N Husband, Deb Curent Value of
- : a : e, ebtor's Interest in Property,
Type of Property N Description and Location of Property j aint or without Deducting any ¥
E Community Secured Claim or Exemption
22, Patents, copyrights, aad other x
intellectual property. Give
particulars.
23. Licenses, franchises, and other x
general intangibles. Give
particulars.
24, Customer Hsts or other compilations K
containing personally identifiable
information tas defined in EL ULS.C.
§ 101(41A)} provided fo the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.
25. Automobiles, trucks, trailers, and 2013 Kia Optima - 12000 miles - Liened by GTE J 217,500.00
other vehicles and accessories. Federal Credit Union
2013 Kia Forte - 5000 miles - Liened by Wells Fargo J 15,060.00
Dealer Services
26, Boats, motors, and accessories. Xx
27. Aircraft and accessories. x
28. Office equipment, furnishings, and x
supplies.
29, Machinery, fixtures, equipment, and xX
supplies used in business.
30. Inventory. x
31. Animals. xX
32. Crops - growing or harvested. Give x
particulars.
33. Farming equipment and x
implements.
34. Farm supplies, chemicals, and feed. X
35. Other personal property of any kind x

not already listed. Itemize.

 

Sub-Total > 36,500.00
(Total of this page}
Total > 44,997.92

Sheet 3 of 3 continuation sheets attached

to the Schedule of Personal Property

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(Report also on Summary of Schedules)

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